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Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24 Page 1of11

FD-1036 (Rev 10-16-2009)

UNCLASSIFIED/ /FOUO
FEDERAL BUREAU OF INVESTIGATION

Import Form

——
Form Type: FD-71A - Guardian Complaint Form Date: oaflareoey 7

Title:U Jeremy Michael Brown Recruiting Members and Planning for Civil
War in Tamoa, FL (TP).

Approved By: SHANNON KELLY H

Drafted By: SHANNON KELLY H

Case ID #: ares (U) Jeremy Michael Brown Recruiting

Members and Planning for Civil War in
Tampa, FL (TP).

Synopsis: 'U DOCUMENT SYNOPSIS CREATED ON 01-13-2021 04:13 PM--SEE
GUARDIAN 690384 _TP FOR GUBREDT AS wees DATA.
On 11/18/2020, at_l; os EM pe
telephone number ff Beane

haere cellular

; date Birth mem, vesidential address
eae aAy : eee Meme called the FBI National Threat
Operations Center (NTOC) to report Jeremy Brown, date of birth
10/01/1974, telephone number 813-860-4564, address 4804 10th Ave. South,
Tampa, FL 33619, Twitter usernames, JMB5GirlDaddy and BrownUSCongress,
for recruiting people and planning for a civil war.

«vided the following information:

On 11/17/2020, Brown had a a with
to the property of PA Mei. hes 22 POs Seager
telephone number P'SYOND had tole the
to put cameras up on the property and have people to the property so

Brown could interview them. believes Brown could be apart of the
Oath Keepers or the a boys; however not sure which one. While Brown

about bringing the RV

an 7

how he was wanting

was talking to , he was trying to recruit him as well.
acter RB neara what Brown was planning, he stated this was not
going to happen due to not knowing these strangers coming to the

property, as the property is very secluded. BRB vetieves Brown has been

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DISC-01180
Case 1:21-cr-00609-APM Document 62-2 Filed 07/24/24 Page 2 of 11

' :* UNCLASSIFIED/ /FOUO

Title: U Jerémy Michael Brown Recruiting Members and Planning for Civil
War in Tampa, PL (TP).

re: [ER «01/13/2021

doing zoom calls and Brown knows there will be a Civil War soon.

ME stated Brown is ex-military, former Congress Candidate, and has
been Baker Actéd a couple of times because he was suicidal. He does have
several weapons, and were taken away from him a couple of times. Eee
believes he has AK 15s ‘and Pistols.

Brown has had zoom calls with people online about this.

has had to file a restraining on Brown and has tried to te] i
who is dating Brown what sees.

would like their identities to be protected as
believes Brown is not stable.

Database queries:

A LexisNexis Accurint query for (813) 860-4564 revealed Jeremy Michael
Brown, date of birth 10/01/1974, telephone number 813-442-8375,
residential address 4804 10th Ave. S, Tampa, FL 33619.

An Open Source query for Twitter Usernames JMB5Girldaddy and
BrownUSCongress revealed positive matches of showing the profile pages.

An NCIC query for Jeremy Michael Brown and date of birth 19741001
revealed inconsistencies in NCIC and based on the information it may or
may not be him.

A Guardian and Sentinel queries for Jeremy Michael Brown and date of
birth 10/01/1974 revealed zero results.

A DIVS queries for Jeremy Michael Brown and date of birth 10/01/1974
revealed two results, could be positive results.

A Guardian, Sentinel, and DIVS queries for 813-860-4564 revealed zero
results.

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DISC-01181
Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24 Page 3 of 11

eee ae. ,

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Title: U Jeremy Michael Brown Recruiting Members and Planning for Civil
War in Tampa, FL (TP). ‘

ne: NEN 01/13/2021

revealed zero results.

A Guardian query co revealed zero results. *
A Sentinel query cor JiEEcvealed two results, both in the Tampa

Field Office.

A Guardian, Sentinel, and DIVS queries co and date of birth

nce

revealed five results with text only.
&

Enclosure(s): Enclosed are the following items: ‘

A DIVS query for

1. U Twitter for Jeremy Michael Brown- username BrownUSCongress.PNG
2. U Contents of Submission

3. U Twitter for Jeremy Michael Brown - user name JMB5Girldaddy. PNG
4, U Jeremy Brown social media

5. U Picture

4

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3

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Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24 Page 4 of 11

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“

Generated: 01/13/2021 4:13 PM EST

STaee nestle

foe (U) Jeremy Michael Brown Recruiting Members and Planning for Civil War in Tampa,
FL (TP).

Jeremy Michael Brown a :
HQ-CTD-492-l1-21 Status: Closed (on 01/13/2021)
(U/IFOUO) Anti-Government or Anti- No identified threat to national security was
Authority Violent Extremism found at this time. If further information
Is received, this assessment may be re-
opened in accordance with DIOG Section 5.

(U) Jeremy Michael Brown (Approx. Age

46) PRE
180 Day
ee ape: ae aah Measure Measure Measure
ocations: 4804 1 Ve
South Tampa Florida N/A N/A s
other a Mitigation

4804 10th Ave South
Tampa, Florida 33619-

|

NaNNaN

Be vee Gf» :
Contact “ (U) 8138604564 : — Counterterrorism
Information: Se
Attachments: r
Brown_DL_690384 TP_1605884462438 png (77.9 KB) hyper lvoe
Picture Threat to Life:
Paport Type: Ciher
Program OTOSIDTOU
Management:
Obsarved: 4418/2920 01:06.45 PA
4 Time Zone Gur -05:co
w Receipt Methad Teleprene
eGuardian ID OCFBINAE1-2020-334 15
Field Office
Assigned Squad
Approverts;

Resort Create:
Report Swner

Authonzed io determine t any crec.ctle |
Purpose threat casts in lignt of new
3 intormation cotained on |
ania wDIeCt

Sestnal Case

Baseline Collection Plan 2 spec:
ee 1 «» ¢ Authorized Methods Utilized :
|_ Date Last Checked Database “Jechniqueuulzed == -
11/23/2020 BaseJumper Accessfexamine F8i/DOJ records, and obtain information from FBIIDOJ
11/23/2020 CHS Check (CFU) personnel,
1192372020 Divs 01/13/2021 Administrative note for inte purp
11/23/2020 Dws 12/09/2020 Interview or request information from members of the public and private
44/23/2020 DaLas ~ ae
owos2021 ugraen 01/11/2021 Use online services and resources (whether nonprofit or commercial).
* 4412312020 NetTalon Baseline Comeliant
1270972020 _Other .
> 11/23/2020 Photographic Web Sites
* 4142312020 Sentinel
04/11/2021 Social Media
Baseline Compliant]

DISC-01183
Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24

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U) On 11/18/2020, at 1:04 PM cellular telephone number
Repey as be
called the FBI National Threat Operations Center (NTOC) to report Jeremy Brown, date
of birth 10/01/1974, telephone number 813-860-4564, address 4804 10th Ave. South, Tampa.

FL 33619, Twitter usernames. JMBSGirlDaddy and BrownUSCongress, for recruiting people
and planning for a civil war.

BF ovices the following information:

On 11/17/2020. Brown had a talk wit about bringing the RV to the property of
telephone number |i Brown
ad told the how he was wanting to put cameras up on the property and have people to

the property so Brown could interview them.&...234believes Brown could be apart of the C
Keepers or the proud boys; however not sure whicri one. While Brown was talking tof
he was trying to recruit him as well.

Atte EEE card what Brown was planning, he stated this was not going to happen due to
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believes Brown has been doing zoom calls and Brown knows there will be a Civil War soon.

Boyce stated Brown is ex-military, former Congress Candidate, and has been Baker Acted
a couple of times because he was suicidal. He does have several weapons, and were taken
away from him a couple of times figiiiibelieves he has AK 15s and Pistols.

Brown has had zoom calls with people online about this.

Fa has had to file a restraining on Brown and has tried to tell eae, who is dating
Brown what Boyce sees.

eae like their identities to be protected adiiiipelieves Brown is not
Stable.

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A Guardian and Sentinel queries for Jeremy Michael Brown and date of birth 10/01/1974
revealed zero results.

A DIVS queries for Jeremy Michael Brown and date of birth 10/01/1974 revealed two results,
could be positive results.

A Guardian, Sentinel, and DIVS queries for 813-860-4564 revealed zero results.

A Guardian, Sentinel, and DIVS queries fo ans date of birt revealed

zero results.

A Guardian query icra revealed zero results.

A Sentinel query tor eveaie two resuits, both in the Tampa Field Office,

A DIVS query ror See, revealed five results with text only.

(U) Jeremy Michael Brown (Approx. Age 46)
Subject Type: Main
Locations: (U) 4804 10th Ave South Tampa Florida 33619-

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*,

Other

4804 10th Ave South
Tampa, Florida 33619-
NaNNaN

Contact (U) 8138604564
Information:

Attachments:  (U) Brown _DL_690384 TP 1605884462438 png (77.9 KB)

Picture
oo Type: m Citizen
Informauon:
ere ee ae ‘ ei

Locations: i i Ine meer

Contact
Information,

ae —

(U) Untitled
Other

NaNNaN

Contents of Submission

Twitter for Jeremy Michael Brown- username BrownUScongress.Pus

Twilter for Jeremy Michael Brown - user name JMBSGiridacdy.PNS

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st

(U) Incident additiohal information

Description: | Submitting Organization Details
ORI: DCFBIWAE1
Name: National Threat Operations Center
Phone: Local FBI Office
Email: Contact Local FBI Office
Phone 2: 304-625-0990
Phone 3: DCFBIWAE1
Agency Name 1: Federal
Agency Name 2: Contact Local FBI Office
Agency Name 3: National Threat Ops. Center
Street Number: 1000
Street Name: Custer Hollow Road
City: Clarksburg
State: WV
Country: USA
Zip Code: 26306

Incident Author Information
ORI: DCFBIWAE1

Email: mhostutler@fbi.gov
Email: mhostutler@fbi.sgov.gov

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Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24 Page 7 of 11

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Last Name: Hostutler
First Name: Megan

Police Report: PALM:51868beb-6de1-45ed-b8ee-265393c65d92,63741 3245626293781
Created Timestamp: 2020-11-18T14:29:24.196
Modified Timestamp: 2020-1 1-18T14:29:24.195

Status: Approved
Histary:
11/18/2020 02:36:34 PM Imported note from EGUARDIAN eS sGuardian (GMU /3A4R )

(U) Brown, Jeremy
Description: Birth Date Range Begin: 1974-OCT-1

Status: Approved
History:
11/18/2020 02:36:34 PM Imported note from EGUARDIAN 8G eGuatian (MU /S45 )

(U) Selected NTOC/TIPS Field Office/Squad for Routing
Description: Selected Field Office/Squad: CJIS/D1-NTOC

Status: Approved
History:
11/18/2020 02:36:34 PM Imported note from EGUARDIAN 2S eGuargian (GLU /342)

(U) Incident Behaviors from eGuardian
Description: Other

Status: Approved
History:
11/18/2020 02:36:34 PM Imported note from EGUARDIAN 23 eGuardias (GIG /342)

(U//FOUO) Baseline Checks - Jeremy Michael Brown
Authorized Access/examine FBI/DOJ records, and obtain information from FBI/DOJ personnel.

Method:
Databases BaseJumper, CHS Check (CFU), DaLas, DIVS. DWS, Guardian. NetTalon. Other,
checked: Photographic Web Sites, Social Media, Sentinel

Description: On 11/23/20 IA Sarah Gustafson conducted baseline checks on Jeremy Michael Brown with
the following results:

Basejumper - negative
CHS check - negative
DaLas - negative
Guardian -
DIVS - several bank CTRs and SAR.
NetTalon (OnDec) - negative
Sentinel - several matching docs, unknown match
DWS - negative
Social Media - Twitter - JMB5GirlDaddy directs users fo his "Official Campaign Twitter,"
@BrownUSCongress. Facebook account link to facebook.com/JeremyBrownForCongress,
See attached Word document.
Status: Completed
Attachments:  (U) Social Media - Jeremy Brown 690384 TP _1606280889907.docx (2965.7 KB)

Jeramy Brown social media

History:
11/23/2020 03:24:56 PM Created Note: Baseline Checks - Jeremy MichaelS “24H GUSTAFSON ( TAMPA /TP-5 )
Brown

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Case 1:21-cr-00609-APM Document 62-2 Filed 07/24/24 Page 8 of 11

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(U) Attempted interview of Jeremy Brown.
Authorized “Administrative note for informational purposes.
Method:
Description: On December 4. 2020, Task Force Agent (TFA) Brett Lindsey and TFA Paul Ura attempted
' to interview Jeremy Michael Brown at the address listed on his Driver License at 4804
10th Ave S, Tampa, FL 33619, Agents wore greeted by homeowner Tylene Aldridge,

Aldridge provided that Brown did not live there and she had not seen Brown for quite a while.

Additionally, Aldridge stated that Brown only comes around once in a while and has she no
contact information for Brown. TFAs provided Aldridge a business card should she speak
with Brown in order to have Brown contact agents.

Investigation continues.

Status: Corhpleted
History: ,
12/04/2020 09:10:16 AM Created Note: Attempted interview of Jeremy BRETT LINDSEY (TAMPA STF LZ)
Brown.

(U/FOUO) Department of Defense (DoD) Database Checks

Authorized Access/examine FBI/DOJ records, and obtain information from FBI/DOJ personnel,

Method:

Databases Other

checked: ‘

Description: On $ December 2020, TFO Jess Bidlack conducted various DoD databases checks
for records/information matching identifiers ot Brown. The databases queried and their
corresponding results were as follows:

DoD Person Search: Brown had a file on record within DPS that listed the following
highlighted information:

- DoD EDI: 1057683976

- Email: jeremy.michale.brown.fi@gmail.com

- Home Phone: 813-860-4564

- Work Phone: 813-258-6666

- Home Address: 4804 10th Ave S., Tampa, FL
- Service Affiliation: US Army

- Status: Retired

- Date of Status: 1 November 2012

- Rank: E8 / Msgt

Military Information Recruiting Suite (MRIS): Brown had a file within MRIS. The file listed
Brown serving in the US Army from 27 October 1992 - 31 October 2612. Brown received an
honorable discharge at the end of his service.

Defense Criminal Index of Investigations (DCII): Brown had a single record related to his
background security investigation in 1992.

Defense Personnel Records Information Retrieval System (DPRIS): Selected records were
reviewed for Brown in DPRIS. Records revealed that Brown served in the US Army and
Special Forces. Brown held several MoS including 18B (Infantry), 18E (SF Comms) and 182.
Brown had service training as a Ranger, Airborne, Jump Master, and Pathfinder. During his
active duty service Brown served approximately 2 years and 3 months overseas including
Afghanistan, Iraq, Bolivia. Columbia and Malaysia. Brown received an honorable discharge
at the end of his service.

Defense Biometrics Identification System (DBIDS) - MacDill AFB only: Brown had an active
file within DBIDS. As a retiree, Brown would have access to military installations. Brown had
last accessed MacDill AFB in Tampa at the end of November.

Status: Completed
History.
12/09/2020 02:31:06 PM Created Nate: Department of Defense (DoD) JESS BIDLACK ( TAMPA ITP-CRISIS )
Database Checks

(U) New Information Provided by NTOC

Authorized Access/examine FBI/DOJ records, and obtain information from FBI/DOJ personnel.
Method:

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Databases Guardian

checked:

Description: On 01/04/2021, SSA Shannon received an email from NTOG indicating that additional
information was received regarding BROWN, as outlined below. SSA Shannon deemed it
appropriate to re-open this assessment for re-interview of BROWN in light of concerns about
potential threats to the Electoral Certification.

On 01/04/2021, at 3:29:39 PM Eastern Time. :
birth REE Cell telephone number (813) 690-9615.
called the FBI NTOC to report additional information regarding Jeremy Michael Brown. date
of birth 10/01/1975. preparing for a civil war in Tampa. FL.

BB oovices the following information.

ished to remain anonymous, Brown has been attempting to recruit individuals for a
potential civil war and has created new accounts on Wickr, account name ggsol, and Signal,
account name ggsol, for the purpose of recruiting. Brown has travelled to Washington. D.C.
and is attempting to recruit individuals before attending a political event on 01/06/2020.

B 2 ravellin with firearms. Brown is with his girlfriend. Tylene Aldride.

282 Brown is driving a black and silver, 40 foct long. 2008
and Aldridge is driving a silver, 2014-2015 Honda Odyssey
Reeecouldn't specify any particular criminal activity that Brown was planning to engaae in
while in. D.C. Brown and Aldridge are staying at an unspecitied location ten miles outside of
Dc. and have posted on Wickr and Signal asking people to meet them.

Status: Approved
History:
91/05/2021 91:29:30 PM Created Note: New Information Provided by
NTOC

(U) Social media recheck - Jeremy Michael Brown

Authorized Use online services and resources (whether nonprofit or commercial).
Method:

Databases Social Media

checked:

Description: On 1/11/21, [A Gustafson conducted a re-check of Jeremy Michael Brown's social media
accounts with the following results:

Twitter - @JMB5girlDaddy - appears to have been deleted/deactivated.

Twitter - @BrownUSCongress - appears to have been deleted/deactivatad.

Facebook - facebook. com/JeremyBrownForCongress - still active account, but appears to
not be used. Most recent post is from June 2020.

Searches of Twitter, Instagram, Facebook for other accounts belonging to Jeremy Michael
Brown were met with negative results.

The websites mentioned in the updated portion of the Guardian. Wickr and Signal, are
encrypted communication sites vs. social media.
Status: Approved
History:
01/11/2021 07:48:59 PM Created Note: Social media recheck - Jeremy
Michael Brown
01/11/2021 07:57:47 PM Recall note
01/11/2021 07:59:58 PM Submit note for approval ? .
01/12/2021 09:59:57 AM Approve note 1 “4ENNGN (IFA 7

(U) Social Media Checks and recommend closing.

Authorized Administrative note for informational purposes.

Method:

Description: Sarah Gustafson, FBI Intelligence Analyst conducted social media checks for Jeremy Brown
and found Brown had deleted his Twitter (as stated in the interview) and nothing new has
been posted on Facebook.

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Case 1:21-cr-O0609-APM Document 62-2 Filed 07/24/24 Page 10 of 11

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There is no evidence to suqgest Brown entered the Capitol at the time and as such itis
recommended that the Guardian be closed.

Status: Approved
History:
01/13/2021 09:01:15 AM Created Note: Social Media Checks and BRETT LINDSEr (1 | SATB 3)
oe recommend closing. -
01/73/2021 04:11:44 PM Approve note RELL

Subject Interview(s) 4
Interviewed: Yes

(U) Interview of Jeremy Michael Brown.

Authorized Interview or request information from members of the public and private entities.

Method:

Description: | Jeremy Michael Brown, date of birth (DOB) 10/01/1974. home address as 4804 10th Ave
South. Tampa. FL 33619, Jeremy Brown was interviewed at 1600 E 8th Ave. Tampa, FL.
Afier being advised of the identity of the interviewing Agents and the nature of the interview.
Brown provided the following information:

On December 09, 2020, JTTF TFA S/A Brett Lindsey and TFA S/A Paul Ura conducted

an interview of Jeremy Brown at 1600 E 8th Ave. Tampa, FL. Agents explained to Brown
that information was received reaarding social media posts he made regarding recruiting
people for a potential civil war. Camp stated that he has posted online but didn't recall

any specific tweets about civil war. Brown did state that had recently deleted his Tweeter
account. Brown stated thal he has not posted or spoken with anyone regarding recruiting
people for a civil war. Brown stated that he is retired US Military and was in the Special
Forces. Brown provided that he is currently in a custody battle with his ex-wife over custody
of his five daughters. Brown stated that his ex-wife has made false claims in the past and he
wouldn't put it past her to have made these claims. Additionally, Brown provided that he had
run for Florida Congress and has had several run-ins with Antifa members as a result. Brown
stated that he has no intentions to harm anyone nor himself, Brown also provided that he
has no intention to start any conflicts nor does he belong to any hate groups or groups that
want to overthrow the government.

As such, agents recommend closing the Guardian.

Status: Completed
History:
12/09/2020 12:58:10 PM Greated Note: Interview of Jeremy Michael BRETT LINOSE? |

. _.. Brown.

Has this matter No
been referred

to OGA/State/
Local?

(U) Disposition

Assessment Subfite Number:

Note: No threat to national security at this time. based on likely
domestic disputes that led to talse allegations against the
subject. In addition, allegations largely appear to constitute First
Amendment protected activity. Therefore this incident is being
closed.

Disposition: No identified threat to national security was found at this time
It further intormation Is received, this assessment may be re-

opened in accordance with DIOG Section 5.
CBP Notifications: No

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itis noted that the individual or group identified during the Assessment does not warrant further FBI investigation
at this time. Any dissemination of information from this Assessment regarding the individual or group identified
‘must include an appropriate caveat with the shared information. Itis recommended that this Assessment be closed.

*

NiMol gai CoN

11/18/2020 02:36:34 PY Imported Incident from EGUARDIAN Assigned By: ardian

Assigned To: ; SfNTOC )
11/18/2020 02:36:34 PM Submitted Imported Incident Assigned By:
. Assigned To: (CJIS /21-NTOC )
11/18/2020 02:36:34 PM Incident assigned for pre-assessment Assigned By: 2S eSuat an ( GMU/SAR )
j Assigned To: i. SM HOSTUTLER ( Cals
cS )
11/18/2020 03:03:51 PM Incident submitted from pre-assessment Assigned By: MEGAN -POSTUTLER (CJIS
; FI-NTOC )
’ Assigned To: (CIS D}-NTOC )
11/18/2020 05:07:30 PM Resarve Incident Assigned By: -EFFRE/ MLLEP (CuIS /01-

LTC )
Assigned To: (CJIS (°-NTOC )

1141872020 05:07:58 PM Incident transferred Assigned By: REY PMILLER (CsI /01-
a Jeremy Michael Brovn Recruiting Members and Planning for Co . .
‘ . War in Tampa, FL {7%}. Assigned To:
11/18/2020 06:08:20 PM Incident assigned Assigned By:
Assigned To:
Assigned By: :

11/19/2020. 12:44:04 PM Incident assigned for pre-assessment

Pre-assessment only at this time. Please reimerview compieine™: tc Assigned To: £7€
clarify any threat indicators. and conduct logical checks. "re.
Assigned By: 82217 NOSEY ( TAMPA
12/18/2020 09:29:28 AM Incident submitted from pre-assessment a
. Assigned To: (TAA /TF-5 )
‘ Assigned By: "Eb. S+i4 MGM (T3495
12/17/2020 09:51:08 AM Chanae incident proaram 3 ” ;
, Chanaina proaram to\CT oased on allegec mifitia affiliation cf the Assigned To: s
subject, Assigned By: 2 GAMNOM (TAMPA

12/17/2020 10:00:18 AM Closed as Information Only
Assigned To:
Assigned By: *
01/05/2021 01:15:38 PM Incident reopened
Assigned To: = +
x Assigned By: + -
01/06/2021 01:11:36 PM Reassign user Assigned To:

54 (TAMPA /TP-5)
(TAMPA /7P-5 )

LINDSEY (TAMEA

Assigned By:
01/13/2021 09:01:46 AM Incident submitted for closure
Assigned To:
Assigned By:
01/43/2021 04:13:19 PM Incident Closed
Incident is being closed consistent vith justification outlined in the Assigned To:
disposition of this incident, Subiect may be recontacted in the future
for potential Intelligence or the Guardian will be reopened if further
derogatory information is identified.

DISC-01
